Fill in this information to identify the case:

Debtor 1                  Christopher John Standerwick

Debtor 2                  Crystal Dawn Preston-Standerwick aka Crystal Dawn Preston aka Crystal Dawn Standerwick
(Spouse, if filing)

United States Bankruptcy Court for the : Eastern                                 District of      Michigan
                                                                                                  (State)

Case number               17-57688-tjt


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:              Wilmington Savings Fund Society, FSB,                Court claim no. (if known):         23
                               d/b/a Christiana Trust, not individually but as
                               trustee for Hilldale Trust

Last four digits of any number you                 XXXXXX1008                       Date of payment change:
use to identify the debtors’ account:                                               Must be at least 21 days after date of              7/1/2020
                                                                                    this notice

                                                                                    New total payment:
                                                                                    Principal, interest, and escrow, if any             $1,543.55

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
           for the change. If a statement is not attached, explain why: __________________________________________________________
           ___________________________________________________________________________________________________
           Current escrow payment:            $ 424.02                                         New escrow payment :       $ 710.25

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate note?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
           explain why: ___________________________________

             Current interest rate:                          %                                 New interest rate:       %

             Current principal and interest payment:         $ _________                       New principal and interest payment:        $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                                New mortgage payment:          $ _________




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Official Form 410S1                                Notice of Mortgage Payment Change                                                 page 1
 Debtor 1            Christopher John Standerwick                                   Case number (if known) 17-57688-tjt
                    First Name Middle Name Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Linda St. Pierre                                                               Date      5/28/2020
     Signature

Print:         Linda                                                St. Pierre         Title    Authorized Agent
               First Name             Middle Name                   Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                       30076
               City                          State                    ZIP Code

Contact phone      860-240-9156                                                        Email     Linda.St.Pierre@mccalla.com




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Official Form 410S1                            Notice of Mortgage Payment Change                                     page 2
                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                                       Bankruptcy Case No.: 17-57688-tjt
 In Re:                                                Chapter:             13
          Christopher John Standerwick                 Judge:               Thomas J. Tucker
          Crystal Dawn Preston-Standerwick
            aka Crystal Dawn Preston
            aka Crystal Dawn Standerwick

                                   CERTIFICATE OF SERVICE

      I, Linda St. Pierre, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Christopher John Standerwick
3470 Yardly Ct.
Sterling Heights, MI 48310

Crystal Dawn Preston-Standerwick
3470 Yardly Ct.
Sterling Heights, MI 48310

James P. Frego, II                      (served via ECF Notification)
Frego & Assc.-The Bankruptcy Law Office
23843 Joy Road
Dearborn Heights, MI 48127

Tammy L. Terry, Trustee                        (served via ECF Notification)
Buhl Building
535 Griswold, Suite 2100
Detroit, MI 48226




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     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:      5/29/2020      By:   /s/Linda St. Pierre
                    (date)             Linda St. Pierre
                                       Authorized Agent for Fay Servicing, LLC




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17-57688-tjt   Doc 81   Filed 05/29/20   Entered 05/29/20 13:32:56   Page 5 of 6
                                      ESCROW ACCOUNT DISCLOSURE STATEMENT
Loan Number:                                         ACCOUNT HISTORY                                     Date: 04/21/2020

This is a statement of actual activity in your escrow account from 07/01/2019 through 06/30/2020. This section provides
last year's projections and compares it with actual activity.
An asterisk (*) indicates a difference from a previous estimate either in the date or amount and may be caused by any of
the following:
• The actual amount of insurance or taxes paid since your last Escrow Analysis Statement was higher or lower than
     anticipated
• Additional funds were applied to your escrow account
• The time elapsed between payments to escrow and disbursement from escrow was shorter or longer than anticipated
     on your last Escrow Analysis Statement.

                     PAYMENTS                      DISBURSEMENTS                                     ESCROW BALANCE
MONTH          PROJECTED      ACTUAL           PROJECTED       ACTUAL           DESCRIPTION       PROJECTED      ACTUAL

                                                                              BEGINNING BALANCE     3,356.63         -37.06
07/19             424.02        442.12                                                              3,780.65         405.06
08/19             424.02               *         3,356.63      4,471.44       CITY/TOWN 1S            848.04 <    -4,066.38 <
09/19             424.02        866.14                                                              1,272.06      -3,200.24
10/19             424.02        424.02                                                              1,696.08      -2,776.22
11/19             424.02        424.02                                                              2,120.10      -2,352.20
12/19             424.02        424.02 *          462.59         850.74       CITY/TOWN 2N          2,081.53      -2,778.92
01/20             424.02                                                                            2,505.55      -2,778.92
02/20             424.02        424.02 *                       1,436.00       HOMEOWNERS I          2,929.57      -3,790.90
03/20             424.02      1,272.06 *         1,269.00                     HOMEOWNERS I          2,084.59      -2,518.84
04/20             424.02        848.04   E                                E                         2,508.61      -1,670.80
05/20             424.02        424.02   E                                E                         2,932.63      -1,246.78
06/20             424.02        424.02   E                                E                         3,356.65        -822.76

TOTAL           $5,088.24    $5,972.48          $5,088.22     $6,758.18




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